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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                August 24, 2022
                         UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


                                             §
IN RE: INTERCONTINENTAL                      §
TERMINALS COMPANY, LLC,                      §        Lead Case No. 4:19-cv-1460
DEER PARK FIRE LITIGATION                    §
                                             §

            ORDER ADOPTING REPORT AND RECOMMENDATION

        This matter was referred to United States Magistrate Judge Dena Palermo to conduct

all pretrial proceedings pursuant to 28 U.S.C. § 636. ECF No. 112. Pending before Judge

Palermo was Defendant Intercontinental Terminals Company LLC’s (“ITC”) motion for

partial summary judgment regarding claims under the Oil Pollution Act (“OPA”), ECF.

395. On July 2, 2021, Judge Palermo filed a Report and Recommendation (“R&R”),

recommending that Defendant’s motion be granted, that summary judgment be granted as

to all claims under the OPA, and that certain cases be dismissed. ECF No. 890. OPA

Plaintiffs filed objections to the R&R, asking the Court to deny ITC’s motion. ECF Nos.

909, 910, 911, 912, 913, 914, 915, 927, 928, 929. Defendant ITC and Non-OPA Plaintiffs

filed responses to OPA Plaintiffs’ objections, urging the Court to adopt the R&R. ECF No.

930, 931. OPA Plaintiff Petredec Trading (U.S.), Inc. (“Petredec”) filed an opposed motion

for leave to file a reply in support of OPA Plaintiffs’ objections, ECF No. 943, and

Defendant ITC filed a response in opposition to Petredec’s motion. ECF No. 970.




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        Since Plaintiffs filed objections, the Court conducted a de novo review. The Court

finds that the R&R is well founded and that it should be adopted. Accordingly, it is

ORDERED that:

        1. OPA Plaintiffs’ objections to the R&R are OVERRULED.

        2. Petredec’s motion for leave to file a reply in support of OPA Plaintiffs’

           objections, ECF No. 943, is DENIED.

        3. The R&R is ADOPTED in its entirety as the holding of the Court.

        4. Defendant ITC’s motion for summary judgment, ECF No. 395, is GRANTED;

        5. All claims under the OPA are summarily DISMISSED in the following cases:

              a. GTM International LLC v. Intercontinental Terminals Company LLC, et
                 al., Case Number 4:19-cv-1460;
              b. Charlotte Owners Inc. v. Intercontinental Terminals Company LLC, et
                 al., Case Number 4:19-cv-1460;
              c. Waterways Tankers Inc. v. Intercontinental Terminals Company LLC, et
                 al., Case Number 4:19-cv-1460;
              d. Petrochem Transport, Inc. v. Intercontinental Terminals Company LLC,
                 et al., Case Number 4:20-cv-36;
              e. United Seafood, et al. v. Intercontinental Terminals Company LLC, et al.,
                 Case Number 4:20-cv-1714;
              f. Hyundai Marine Fire Insurance v. Intercontinental Terminals Company
                 LLC, Case Number 4:21-cv-497;
              g. AET Inc. Ltd. v. Intercontinental Terminals Company, LLC, Case
                 Number 4:21-cv-825;
              h. Clean Harbors Deer Park, LLC v. Intercontinental Terminals Company,
                 LLC, Case Number 4:21-cv-1105;
              i. O’Rourke Marine Services, LLC v. Intercontinental Terminals Company
                 LLC, Case Number 4:21-cv-1200;
              j. SASOL Chemicals North America LLC, et al. v. Intercontinental
                 Terminals Company LLC, et al., Case Number 4:21-cv-1251; and

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              k. INEOS USA LLC v. Intercontinental Terminals Company LLC, et al.,
                 Case Number 4:21-cv-1254.

        6. The following cases are DISMISSED WITH PREJUDICE:

              a. Texas Aromatics LP v. Intercontinental Terminals Company LLC, Case
                 Number 4:20-cv-1387;
              b. Rio Energy International, Inc. v. Intercontinental Terminals Company
                 LLC, Case Number 4:20-cv-1843;
              c. Gunvor USA LLC v. Intercontinental Terminals Company LLC, Case
                 Number 4:20-cv-1867;
              d. Castleton Commodities Merchant Trading L.P. and Castleton
                 Commodities Merchant Asia Co. PTE. Ltd. v. Intercontinental Terminals
                 Company LLC, Case Number 4:20-cv-1930; and
              e. Petredec Trading (U.S.), Inc. v. Intercontinental Terminals
                 Company LLC, Case Number 4:21-cv-846.

        SIGNED on August 24, 2022, at Houston, Texas.


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                                               Kenneth M. Hoyt
                                               United States District Judge




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